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FOR THE wEsTERN DISTRICT oF TENNESSEE 95 JUIU 15 P
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UNITED sTATEs OF AMERICA, 13 11 w[~n,jgws'
vs. No. 92-20338-Ma

BRANDON WILLIAMS ,

Defendant.

 

ORDER RESETTING HEARING ON SUPERVISED RELEASE VIOLATION

 

Before the court is the June 3, 2005, motion to reset the
hearing on defendant Brandon Williams’ supervised release
violation which was set on June 21, 2005. For good cause shown,
the motion is granted. The hearing on supervised release
violation of defendant Brandon Williams is RESET to Tuesday,
September 27, 2005, at 9:00 a.m.
z_~»’/L

lt is so ORDERED this day of June, 2005.

cwa/wsm

SAMUEL I-I. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

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With Ru§e 55 and/or 32(b) FRCrP on

 

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Honorable Samuel Mays
US DISTRICT COURT

